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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                    :
 JILL STEIN, et al.,                                :
                                                    :   CIVIL ACTION
                                                    :
                               Plaintiffs,
                                                    :
                        v.                          :   No. 16-cv-6287(PD)
 KATHY BOOCKVAR, in her official capacity           :
 as Secretary of the Commonwealth, and              :
 JONATHAN MARKS, in his official capacity           :
 as Commissioner of the Bureau of                   :
 Commissions, Elections and Legislation,            :
                                                    :
                               Defendants.          :
                                                    :
                                                    :

             DEFENDANTS’ SUBMISSION PURSUANT TO PARAGRAPH 7
                     OF THE DECEMBER 20, 2019 ORDER

       In its Order entered December 20, 2019 [ECF 136] (the “Order”), the Court directed the

parties to “address whether hearing testimony will be required from the lawyers who negotiated

the Agreement and subsequently monitored and addressed compliance questions.” (Order ¶ 7.)

The Court also directed the parties to “address whether testifying would disqualify those lawyers

and their firms from serving as counsel in these proceedings.” (Id.)

       As set forth in more detail below, the impending evidentiary hearing scheduled for

January 21, 2020 (the “Hearing”), raises precisely the concerns that animate Rule of Professional

Conduct 3.7, which generally prohibits lawyers from representing a client at a hearing in which

the lawyer is likely to be a necessary witness. At the center of the parties’ motion papers, and of

the “factual questions” enumerated in the Court’s Order scheduling the Hearing (Order ¶ 4), are

(a) the communications between Plaintiffs and Defendants regarding the formation of their

Settlement Agreement and (b) the timing of Plaintiffs’ Motion. Plaintiffs’ counsel – in
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particular, Ilann Maazel, who consistently took the lead for Plaintiffs on those communications –

is an essential witness with regard to those discussions. Although it is conceivable, depending

on the course of the hearing, that Mr. Maazel may not need to be disqualified as counsel, whether

that will in fact be the case depends in significant part on factors beyond Defendants’ control.

Accordingly, Defendants request that this issue be explored further by the Court and the parties

at the telephone conference that the Court has tentatively scheduled for Thursday, January 16,

2020.

        I.       THE SUBJECT MATTER OF THE HEARING DIRECTLY IMPLICATES
                 THE CONCERNS BEHIND RULE 3.7

        Pennsylvania Rule of Professional Conduct 3.7, known as the Advocate-Witness Rule,

provides that, with certain exceptions not pertinent here, “[a] lawyer shall not act as advocate at a

trial in which the lawyer is likely to be a necessary witness.” Pa. R.C.P. 3.7(a). Here, Plaintiffs

have made their counsel’s communications with Defendants’ counsel a central focus of their

Motion to Enforce the Settlement Agreement. For example, Plaintiffs argue that,

notwithstanding the Agreement’s language and structure (see ECF 123, at 22-26), the parties

intended the term “paper ballot” to mean something other (and far narrower) than that “the ballot

on which each vote is recorded is paper.” (See ECF 112-1, Ex. A ¶¶ 2-3.) And Plaintiffs deny

that, during the parties’ settlement discussions, they approved Defendants’ certification of the

XL – despite the emails between counsel in which Defendants sought Plaintiffs’ feedback on the

voting machines then being considered for certification, including the ExpressVote XL, and Mr.

Maazel and Plaintiffs’ expert, Dr. Halderman, provided that feedback. (See ECF 123, at 11-13;

ECF 133, at 9 n.2.) Plaintiffs also rely on counsel-to-counsel communications that occurred after

the Settlement Agreement was signed. Most notably, in seeking to excuse their long delay in

filing their Motion, Plaintiffs invoke “the parties’ extensive meet-and-confer process” (ECF 133,



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at 1) and “private good-faith discussions” (id. at 7), as well as efforts by Mr. Maazel and Dr.

Halderman to obtain certain videos from Defendants (id. at 8-9).

       That Mr. Maazel is a key fact witness is only underscored by the factual questions on

which the Court directed the parties to “be prepared to call witnesses.” (Order ¶ 4.) Those

questions include:

       a.        What did the Parties to the November 28, 2018 Settlement Agreement
                 mean when they employed the following terms in the Agreement: “paper
                 ballot,” “voter-verifiable record of each vote,” and “capable of supporting
                 a robust pre-certification auditing process”;

       b.        In the months leading up to the November 28, 2018 Settlement
                 Agreement, what were the Parties’ communications regarding the type of
                 voting machine systems the Department of State was considering, and
                 Plaintiffs’ evaluation, comments, or criticisms of these systems;

       …

       e.        What did Plaintiffs know about the ExpressVote XL system when the
                 Department of State apparently first considered it in September 2018;
       …

       g.        Why did Plaintiffs wait until November 26, 2019 to file their Motion to
                 Enforce the Agreement[.]

       The witnesses with knowledge probative of the answers to these questions are, of course,

             •   the individuals on each side who negotiated the Settlement Agreement;

             •   the individuals on each side who communicated with the other side regarding the
                 type of voting machine systems the Department of State was considering, and
                 about Plaintiffs’ evaluation of those systems;

             •   the individuals on Plaintiffs’ side who were most knowledgeable about the
                 ExpressVote XL system in the period before the Settlement Agreement was
                 signed; and

             •   the individuals on Plaintiffs’ side who have knowledge of the alleged
                 communications on which Plaintiffs rely to excuse their delay in filing the
                 Motion.




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For each of these categories, it is plain that Mr. Maazel is the key witness on Plaintiffs’ side of

this dispute (along with, as to some issues, Dr. Halderman). Mr. Maazel is the person who

negotiated the Settlement Agreement on Plaintiffs’ behalf; he is the one who (with Dr.

Halderman) discussed with Defendants the specific voting machine systems being examined by

the Department of State, and provided Plaintiffs’ feedback on those systems; and he is the one

who engaged in the relevant communications with Defendants in 2019.

       Where, as here, a dispute calls for examination of parol evidence regarding a contract

(including a settlement agreement) or alleged contract, and lawyers are the only ones with direct

knowledge of the contract negotiations, courts have repeatedly held that those lawyers are “likely

to be necessary witnesses” and thus cannot serve as counsel at the hearing. For example, in

Carta ex rel. Estate of Carta v. Lumbermens Mut. Cas. Co., 419 F. Supp. 2d 23 (D. Mass. 2006),

the court disqualified plaintiff’s “two attorneys [because they] are the only people who will be

able to testify on the plaintiff’s behalf about the settlement negotiations with the defendants, the

correspondence that went back and forth between the parties, the meetings that were had

between the plaintiff’s counsel and defense counsel and the strategic decisions made during the

settlement process.” Id. at 30. The court noted that in Carta, as is the case here, “[e]ven the

plaintiff herself likely would not be able to testify about such matters since they were undertaken

by the attorneys themselves, not by the plaintiff ….” Id. Because the two lawyers “were

actively involved in the negotiations underlying th[at] lawsuit, can testify to facts about which no

one else can testify and have personal knowledge of matters that will be necessary to prove the

plaintiff’s claims,” “there [was] a solid basis for holding that they will be necessary witnesses

and as such must be disqualified from acting as counsel to the plaintiff.” Id. at 30-31. Notably,

the Carta court observed that this conclusion held regardless of whether “there are defense




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witnesses who could testify about the same facts and circumstances that the plaintiff’s counsel

could testify about.” Id. Accord, e.g., Brennan v. Indep. Blue Cross, 949 F. Supp. 305, 309-10

(E.D. Pa. 1996) (lawyer “likely to be a necessary witness … with regard to the contractual issues

that surround the alleged waiver” and therefore had to be disqualified from serving as counsel).

       II.     WHETHER MR. MAAZEL SHOULD BE DISQUALIFIED FROM
               SERVING AS COUNSEL AT THE HEARING MAY DEPEND ON
               INFORMATION NOT YET KNOWN TO DEFENDANTS, AND
               WARRANTS FURTHER DISCUSSION BETWEEN THE PARTIES AND
               THE COURT

       Given the issues enumerated in Paragraph 4 of the Court’s Order, Defendants have

identified as hearing witnesses (among others) Kathleen Kotula and Timothy Gates (See ECF

141). These attorneys served as Defendants’ counsel with respect to the underlying Settlement

Agreement and were directly involved in pre- and post-settlement communications with

Plaintiffs’ counsel relating to the issues set forth in the Court’s Order. Neither attorney will

serve as counsel at the Hearing.

       Surprisingly, Plaintiffs’ Pre-Hearing Memorandum does not list any non-adverse witness

competent to testify about those communications. (See ECF 143, at 5-6.) Nor will Plaintiffs call

Dr. Halderman, despite his undeniable centrality to the issues on which the Court wishes to hear

testimony. 1 (See id.) Indeed, it appears that Plaintiffs will not offer any witness of their own on

the question of, among other things, the meaning of the disputed terms in the Settlement

Agreement. Plaintiffs contend that Plaintiff Jill Stein “has knowledge of Plaintiffs’

understanding of the terms used in the settlement” (id. at 5), but, as Plaintiffs themselves have


       1
          See, e.g., ECF 123-6 (Unger Decl., Ex. 4) (Dr. Halderman’s evaluation of “the voting
systems that PA is considering”); ECF 133, at 1, 8-9 (attempting to justify Plaintiffs’ delay in
filing their Motion by pointing to the time needed for Dr. Halderman to obtain certain
“ExpressVote XL testing videos”); id. at 6 (insisting that “Plaintiffs’ more specific concerns
about the ExpressVote XL are indeed supported by ‘admissible evidence’: the declaration of
Plaintiffs’ expert, J. Alex Halderman”).


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pointed out, “evidence of the parties’ undisclosed subjective intentions,” uncommunicated to the

other side, “is not admissible parol evidence in construing the terms of a contract” (id. at 8). So

far as Defendants are aware, Dr. Stein was not party to any relevant communications between

Plaintiffs and Defendants; all such communications were conducted by Plaintiffs’ counsel

(and/or Dr. Halderman). And Dr. Stein cannot testify about what Mr. Maazel (or, for that matter,

Dr. Halderman) told her about his communications with Defendants’ counsel. Any such

testimony would be both inadmissible hearsay and waive any privilege. 2

       Although it therefore appears that Plaintiffs will not offer (and, at this point, are

precluded from offering) any of their own testimony addressing any of the Court’s questions

regarding, at the very least, the parties’ communications, it is not clear whether Rule 3.7 should

operate to preclude Mr. Maazel from serving as counsel at the Hearing. For example, if

Plaintiffs’ witnesses are allowed to introduce testimony about the parties’ communications, or

about other topics on which Mr. Maazel has important personal knowledge, Defendants may

well want to examine him. (Mr. Maazel is listed as an adverse witness in Defendants’ Pre-

Hearing Memorandum. See ECF 141.) The Court may wish to hear Mr. Maazel’s testimony

irrespective of whether Plaintiffs intend to call him. Or Mr. Maazel may seek to cross-examine

Defendants’ witnesses by challenging them on the details of communications to which he

himself was a party, which would risk precisely the sort of confusion of roles Rule 3.7 is

supposed to prevent. See Pa. R.C.P. 3.7, cmt. [2].



       2
          In their Pre-Hearing Memorandum, Plaintiffs make clear that they do not intend to
waive the attorney-client privilege or work-product protection. (ECF 143, at 10-11.) They
further contend that, because they have not listed Dr. Halderman or any other expert as a
potential witness, all communications between Plaintiffs and their expert(s) are also privileged.
(Id. at 12.) Accordingly, even putting aside the hearsay obstacle, it is clear that Dr. Stein cannot
testify regarding her communications with Plaintiffs’ counsel or Dr. Halderman or the
information she purportedly learned thereby.


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       Given all of these unknown variables, Defendants respectfully request that the Court

further explore the parties’ positions regarding the Rule 3.7 issue (and the related issue of their

intentions regarding the Hearing) at a conference prior to the Hearing.




                                                 HANGLEY ARONCHICK SEGAL PUDLIN &
                                                 SCHILLER


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                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 15, 2020, I caused the foregoing Defendants’ Submission

Pursuant to Paragraph 7 of the December 20, 2019 Order to be filed with the United States District

Court for the Eastern District of Pennsylvania via the Court’s CM/ECF system, which will provide

electronic notice to all counsel of record.



                                                     /s/ Robert A. Wiygul
                                                    Robert A. Wiygul
